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11
                                     UNITED STATES DISTRICT COURT
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                                   NORTHERN DISTRICT OF CALIFORNIA
13
                                          SAN FRANCISCO DIVISION
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16
     UNITED STATES OF AMERICA,                        ) CASE NO. 3:21-mj-71610-MAG
17                                                    )
             Plaintiff,                               ) [PROPOSED] DETENTION ORDER
18                                                    )
        v.                                            )
19                                                    )
     NEITAN ERAZO-RAMOS,                              )
20                                                    )
             Defendant.                               )
21                                                    )

22

23
             On October 08, 2021 defendant, Neitan Erazo-Ramos, was charged by complaint with
24
     Conspiracy to Distribute Methamphetamine, in violation of Title 21, United States Code, Sections
25
     841(a)(1) and (b)(1)(B)(viii), and 846. The defendant had his initial appearance before the court on
26
     October 15, 2021.
27
             This matter came before the Court on October 25, 2021 for a detention hearing. The defendant
28

     [PROPOSED] DETENTION ORDER                      1                                             v. 11/01/2018
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 1 appeared by videoconference with his consent and was represented by Michael Goldrosen. Assistant

 2 United States Attorney Kenneth Chambers appeared for the government. A United States Pretrial

 3 Services Agency Officer was also present at the hearing. Pretrial Services submitted a report that

 4 recommended detention based on risk of flight. The government moved for detention, and the defendant

 5 opposed. At the hearing, counsel submitted proffers and arguments regarding detention.

 6          Upon consideration of the facts, proffers and arguments presented, and for the reasons stated on

 7 the record, the Court finds by a preponderance of the evidence that no condition or combination of

 8 conditions will reasonably assure the appearance of the defendant. Accordingly, the defendant must be

 9 detained pending trial in this matter.

10          The present order supplements the Court’s findings and order at the detention hearing and serves

11 as written findings of fact and a statement of reasons as required by Title 18, United States Code,

12 Section 3142(i)(1). As noted on the record, the Court makes the following findings as the bases for its

13 conclusion: (1) the defendant has essentially no community ties to the Northern District of California;

14 (2) there is almost nothing keeping him here, as he has no bail resources, his housing situation is

15 unstable and he was recently transient, and he has no employment history; (3) the defendant declined to

16 tell Pretrial Services the names of the people he is living with and would not give an exact address; (4)

17 the defendant is a native of Honduras; and (5) given the nature of the charges against him, the court

18 finds that the defendant is a flight risk.

19          These findings are made without prejudice to the defendant’s right to seek review of defendant’s

20 detention, or to file a motion for reconsideration if circumstances warrant it.

21          Pursuant to 18 U.S.C. § 3142(i), IT IS ORDERED THAT:

22          1.       The defendant be, and hereby is, committed to the custody of the Attorney General for

23 confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving

24 sentences or being held in custody pending appeal;

25          2.       The defendant be afforded reasonable opportunity for private consultation with counsel;

26 and

27          3.       On order of a court of the United States or on request of an attorney for the government,

28 the person in charge of the corrections facility in which the defendant is confined shall deliver the

     [PROPOSED] DETENTION ORDER                       2                                             v. 11/01/2018
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 1 defendant to an authorized United States Marshal for the purpose of any appearance in connection with a

 2 court proceeding.

 3         IT IS SO ORDERED.

 4

 5 DATED: _________________
             10/25/2021                                       ________________________________
                                                              HONORABLE THOMAS S. HIXSON
 6
                                                              United States Magistrate Judge
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     [PROPOSED] DETENTION ORDER                    3                                          v. 11/01/2018
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